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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


  LAGUNITAS BREWING COMPANY dba             )
  CERVECERIA LA TROPICAL, and               )
  LA TROPICAL HOLDINGS B.V.,                )
                                            )                 JURY TRIAL DEMANDED
        Plaintiffs,                         )
                                            )
        v.                                  )
                                            )
  SOLTURA, LLC dba BUCANERO USA,            )
                                            )
        Defendant.                          )
  _________________________________________ )


                                           COMPLAINT

         Plaintiffs Lagunitas Brewing Company d/b/a Cerveceria La Tropical (“La Tropical”) and

  La Tropical Holdings B.V. (“Holdings”) (together referred to herein as “Plaintiffs”) bring this

  Complaint against Defendant Soltura, LLC d/b/a Bucanero USA (“Soltura” or “Defendant”), for

  (1) declaratory judgment of non-infringement of Soltura’s claimed trademark and trade dress for

  its PALMA beer; (2) false advertising under Section 43(a) of the Lanham Act; (3) copyright

  infringement under the Copyright Act; (4) violation of the Florida Deceptive and Unfair Trade

  Practices Act; and (5) for cancellation of Soltura’s federal trademark registration for the PALMA

  & Design mark. In support of their Complaint, Plaintiffs allege the following:

                                        INTRODUCTION

         1.      In 1888, the Blanco Herrera family established Cuba’s oldest brewery, Cervecería

  La Tropical, in Havana, Cuba, on a one hundred acre tract of land purchased from the Kohly

  family. The La Tropical brewery produced a beer under the name “La Tropical” and in the 1920s,

  introduced a lighter version of “La Tropical” beer branded as “Cristal,” which over the ensuing


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  decades became Cuba’s most popular beer. At its height, the brewery accounted for over 60% of

  all beer production in Cuba. That is until the 1960s, when the assets of the Blanco Herrera and

  Kohly families were illegally confiscated and nationalized in the Cuban revolution. Impoverished,

  they were forced to flee and resettled in Miami, Florida.

         2.      In 1998, after mortgaging his home and raising money from the Cuban American

  community in Miami, a descendant of the Kohly family, in collaboration with a member of the

  Blanco Herrera family, began brewing and selling La Tropical beer once again, this time in Miami.

  In 2001, the Kohly family descendant formed Three Palms Holdings, LLC, which held the U.S.

  rights with respect to the “Cristal” beer trade dress as well as other beer brands originating with

  the Blanco Herrera family. The assets of Three Palms Holdings LLC were acquired by the

  Heineken Group in 2017.

         3.      In 2018, construction began on the new La Tropical Miami brewery and tap room,

  which now functions as a hub for the thriving Cuban American community in Miami. And in April

  of this year, “Tropi Crystal” beer was launched, bearing the La Tropical house mark and paying

  homage to its original “Cristal” beer from Cuba and its trade dress, brewed based on the original

  “Cristal” recipe. True to its Cuban American roots, the Tropi Crystal beer launched and is

  advertised and currently only sold in South Florida.

         4.      The TROPI CRYSTAL label incorporates a design element – namely, the “Three
  Palms Logo” – for which La Tropical owns a federal copyright registration, as shown below:




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         5.      Defendant produces and sells a beer under the name “PALMA” which, like TROPI

  CRYSTAL beer, is targeted at the Cuban American community in South Florida. Defendant’s

  PALMA beer bears a label design that mimics in virtually every detail the label design used for

  the CRISTAL beer that is currently brewed in Cuba and was illegally confiscated by the Castro

  regime from the Blanco Herrera family, as shown in the photographs below:




         6.      Further, Defendant uses and prominently displays on the PALMA beer label and

  in point-of sale displays the slogan “La Preferida de CUBA” (which translates into English as “The

  preferred one of Cuba”) with the word “Cuba” displayed in all upper case letters followed by a

  “TM” designation, as shown in the photographs below.




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         7.        Contrary to the messaging conveyed by its packaging, PALMA beer is produced in

  Nicaragua, not Cuba. Nonetheless, Defendant’s use of the Cuban Cristal label design and the

  slogan “La Preferida de CUBA” has resulted in widespread confusion among members of the

  Cuban American community in South Florida, who erroneously believe that Defendant’s PALMA

  beer is brewed in Cuba and is being imported into the United States in violation of the U.S.

  embargo against Cuba. Defendant thus has been and is continuing to willfully mislead and deceive

  the consuming public as to the source or origin of its PALMA beer.

         8.        Further, by displaying the image of a palm tree within an oval on the PALMA beer

  label, Defendant is infringing upon Holdings’ registered copyright in the Three Palms Logo.

         9.        Plaintiffs thus bring this action against Soltura for false advertising, deceptive trade
  practices, copyright infringement, a declaratory judgment of non-infringement, and other claims

  for relief to stop Soltura’s unlawful conduct and to recover monetary relief for the harm Plaintiffs

  have suffered.
                     NATURE OF THE CASE, JURISDICTION, AND VENUE

         10.       This is an action for (1) declaratory judgment for non-infringement of Soltura’s

  claimed trademark and trade dress under the Lanham Act, 15 U.S.C. § 1051, et seq.; (2) false

  advertising under the Lanham Act, 15 U.S.C. § 1051, et seq.; (3) copyright infringement under the

  Copyright Act, 17 U.S.C. § 501, et seq.; (4) for violation of the Florida Deceptive and Unfair


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  Practices Act, Fla. Stat. §§ 501.201-213 (“FDUTPA”); and (5) for cancellation of Soltura’s federal

  trademark registration for the PALMA & Design mark under the Lanham Act, 15 U.S.C. § 1119.

  Plaintiffs seek declaratory relief, equitable relief, monetary relief, and attorney’s fees to remedy

  the substantial harm they have sustained as a result Soltura’s unlawful acts.

          11.     This Court has subject matter jurisdiction over the Complaint under 28 U.S.C. §

  1331, 1338, 1400, and 2201. This Court also has supplemental jurisdiction over Plaintiffs’ state

  law claims under 28 U.S.C. § 1367.

          12.     This Court has personal jurisdiction over Soltura under Section 48.193, Florida

  Statutes, because it regularly transacts business within the State of Florida and caused injury in

  Florida through solicitation activities in this state; and this case arises from those Florida activities.

          13.     Venue is proper in this district under 28 U.S.C. § 1391(b) and (c).

                                             THE PARTIES

          14.     Plaintiff Lagunitas Brewing Company d/b/a Cerveceria La Tropical (“La

  Tropical”) is a California corporation which is registered to do business in the State of Florida and

  operates the business of the Cerveceria La Tropical brewery from its principal place of business

  located at 42 N.E. 25th Street, Miami, Florida 33137. La Tropical brews, cans, distributes, and

  sells beer under the mark TROPI CRYSTAL from the Cerveceria La Tropical brewery.

          15.     Plaintiff La Tropical Holdings B.V. (“Holdings”) is a corporation organized and

  existing under the laws of the Netherlands with its principal place of business located in

  Amsterdam, the Netherlands. Holdings is a holding company that owns various intellectual

  property assets related to the operation of La Tropical’s business, including the federal copyright

  registration for the Three Palms Logo and the CRISTAL trademark and trade dress rights outside

  of Cuba.



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           16.    Defendant Soltura, LLC d/b/a Bucanero USA is a California limited liability

  company with its principal place of business at 312 N. Rios Avenue, Solana Beach, California

  92075.

                             FACTS RELEVANT TO ALL COUNTS

           History of CRISTAL Brand

           17.    Manuel Portuondo, La Tropical’s CEO and executive in charge, is a fifth-

  generation member of the Kohly family. Mr. Portuondo’s mother is a direct descendant of the

  Kohly family.

           18.    In the late 1800’s, the Kohly family sold a hundred-acre tract of land in Havana,

  Cuba to the Blanco-Herrera family. The Blanco-Herrera family used that land to build a brewery

  and tropical gardens, which the family operated through its company “Nueva Fabrica de Hielo,

  S.A.” doing business as “Cerveceria La Tropical.”

           19.    The Kohly ancestral home for generations was down river from the Cerveceria la

  Tropical brewery and gardens in an area called the Kohly neighborhood. Mr. Portuondo’s mother

  lived in the Kohly ancestral home near the brewery.

           20.    The Cerveceria La Tropical brewery opened in 1888. From that point until 1960,

  the Blanco-Herrera family owned a controlling stake in Nueva Fabrica de Hielo S.A., which owned

  and operated the Cerveceria La Tropical brewery.

           21.    Beginning in 1888, the Cerveceria La Tropical brewery produced a beer under the

  brand LA TROPICAL. It became the best-selling beer in Cuba in the early 1900’s.

           22.    In the 1920’s, the Cerveceria La Tropical brewery introduced a new beer under the

  brand CRISTAL, which was a lighter version of the LA TROPICAL beer. CRISTAL beer became

  an immediate success and for decades thereafter until today is Cuba’s most popular beer.



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         23.       The label for CRISTAL beer featured a red stripe running upward diagonally from

  left to right with the CRISTAL brand in white offset letters. The label utilized a red, green, and

  white color scheme and displayed a logo consisting of three palm trees inside an oval:




  See Exhibit A.

         24.       This logo was emblematic of the Cerveceria La Tropical brewery and appeared

  not only on the label for CRISTAL beer but also in Cerveceria La Tropical’s house branding.

         25.       In the 1950’s, the Cerveceria La Tropical brewery launched CRISTAL beer into

  the U.S. market. The launch was celebrated at the Cuban restaurant La Barraca in New York City,

  at which Cosme Blanco Herrera (grandson of the founder of the Cerveceria La Tropical brewery)

  and his wife, Chona Rabelo de Blanco Herrera, were in attendance. This celebratory launch dinner

  was mentioned in an article titled “The Perfect Blend of Past and Present” which appeared in the

  January 2002 issue of Vero Beach Magazine. The article included a photograph of the attendees

  at the celebratory dinner. A true and correct copy of this article is attached hereto as Exhibit B.



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         26.     Around the time of CRISTAL beer’s launch into the U.S. market, Nueva Fabrica

  de Hielo, S.A., applied for and obtained a trademark registration with the United States Patent and

  Trademark Office (“USPTO”) for the CRISTAL mark in the stylized format used on the label for

  CRISTAL beer and malta, a non-alcoholic beverage. The registration certificate states that the

  goods covered by the registration are “beer and cereal malt beverages.” The stylized CRISTAL

  mark as registered with the USPTO shows the CRISTAL brand in white offset letters inside a

  darker horizontal stripe that runs diagonally upward from left to right and includes the three palms

  logo. A true and correct copy of the trademark registration certificate for the CRISTAL label

  design (which expired) is attached hereto as Exhibit C.

         27.     During the Cuban revolution in 1960, the Castro regime illegally seized and

  confiscated the property and assets of the Cerveceria La Tropical brewery, as well as the property

  and assets of the Blanco-Herrera family and Mr. Portuondo’s family, the Kohlys. As a result, the

  Blanco-Herrera family was forced to flee in exile to Miami, Florida. Mr. Portuondo’s family,

  which had maintained ties with the Blanco-Herrera family over many years, was also forced to

  flee to Miami, Florida due to the revolution.

         28.     After arriving in the United States, the Blanco-Herrera family undertook efforts to

  continue its use of the CRISTAL brand and label. Specifically, in 1963, Julio Blanco-Herrera, the

  grandson of the founder of the Cerveceria La Tropical brewery in Cuba and President of Nueva

  Fabrica de Hielo, S.A., formed a Florida corporation named Maltina Corporation. Through

  Maltina Corporation, Julio Blanco-Herrera sought to have CRISTAL beer made and sold in the

  U.S.

         29.     Upon information and belief, Julio Blanco Herrera engaged a third party brewer in

  New Jersey through which he produced and sold beer under the CRISTAL brand that utilized the



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  trade dress of the original CRISTAL beer that was brewed in Cuba prior to the Castro revolution.

  A true and correct image of the label for the CRISTAL beer that was produced and sold in the

  United States is shown below:




         30.     The label for the CRISTAL beer brewed and sold in the United States by Julio

  Blanco Herrera displayed the following statement: “BREWED BY METROPOLIS BREWERY

  OF N.J., TRENTON, N.J. BREWED AND PACKAGED UNDER LICENSE OF MALTINA

  CORP. FOR CRISTAL DISTRIBUTING, INC., MIAMI, FLA.”

         31.     In addition, Julio Blanco Herrera, through an arrangement with a third party brewer,

  produced and sold malta under the CRISTAL brand and label. Malta is a dark, non-alcoholic

  carbonated beverage brewed similar to beer and was one of the products that Nueva Fabrica de

  Hielo, S.A. produced and distributed under the trademarks MALTA CRISTAL and CRISTAL in

  Cuba and in the United States. Despite such efforts, due lack of sufficient financial backing, only

  a small amount of CRISTAL malta was produced and sold. These events are recounted in the

  court’s opinion in the case Maltina Corporation v. Cawy Bottling Co., 462, F. 2d 1021 (5th Cir.

  1972), a true and correct copy of which is attached as Exhibit D hereto.

         32.     The Maltina Corporation v. Cawy Bottling Co. case involved a trademark

  infringement lawsuit brought in 1970 by Maltina Corporation and Julio Blanco-Herrera against a

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  third party business named Cawy Bottling Company (“Cawy”) which had started producing a

  malta beverage using the CRISTAL trademark and label designed to resemble the CRISTAL label

  that was used by Nueva Fabrica de Hielo, S.A. in Cuba.

         33.      The litigation against Cawy spanned a decade, including appeals to the United

  States Court of Appeals for the Fifth Circuit (see Ex. D), Maltina Corporation v. Cawy Bottling

  Co., 613 F.2d 582 (5th Cir. 1980) (a true and correct copy of which is attached hereto as Exhibit

  E), and even an appeal to the U.S. Supreme Court (see Maltina Corporation v. Cawy Bottling Co.,

  409 U.S. 1060 (1972)) (certiorari denied) (a true and correct copy of which is attached as Exhibit

  F hereto). The litigation ultimately resulted in the district court holding that the CRISTAL brand

  and label had not been abandoned by Blanco-Herrera, and that Cawy Bottling Company was

  prohibited from further use of the CRISTAL brand and label and ordered to pay damages. See Ex.

  E.

         34.     In affirming the district court’s ruling in 1980, the U.S. Court of Appeals for the

  Fifth Circuit held as follows:

         Cawy designed its “Cristal” label to resemble the label used by Maltina's
         predecessor in Cuba. [The magistrate judge] found that Cawy intended to exploit
         the reputation and good will of the “Cristal” mark and to deceive and mislead the
         Latin community into believing that the “Cristal” once sold in Cuba was now being
         sold in the United States. The magistrate further found that Cawy willfully infringed
         the plaintiffs’ mark and had been unjustly enriched to the detriment of plaintiffs’
         reputation and good will.

  Id.

         La Tropical Teams Up with Blanco-Herrera Family to Re-Introduce Cuban
         American Beer to the U.S.

         35.     In 1998, Mr. Portuondo collaborated with a member of the Blanco-Herrera

  family— namely, Ramon Blanco-Herrera, the great-grandson of the founder of the Cerveceria La

  Tropical brewery in Cuba—and several other Cuban-American investors, to found La Tropical


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  Brewing Company, LLC, a Florida limited liability company which acquired the U.S. federal

  trademark registration for TROPICAL from another local business and resumed producing and

  selling beer under the LA TROPICAL brand.

         36.     In 1999, La Tropical Brewing Company, LLC created a design consisting of three

  royal palms with a clump of upstanding plant leaves in the foreground of the palms and a series of

  horizontal lines resembling two hills in the background, all within a solid oval outline (the “Three

  Palm Logo”)—which is an artistic interpretation of the three palms design that was used by Nueva

  Fabrica de Hielo, S.A.—and registered the copyright with respect thereto (copyright registration

  no. VAu 472-139):




  A true and correct copy of the U.S. Copyright Registration for the Three Palms Logo, including a

  copy of the design deposited with the U.S. Copyright Office, is attached as Exhibit G hereto.

         37.     In 2001, Mr. Portuondo formed Three Palms Holdings, LLC (“Three Palms”), a

  Florida limited liability company which became the holding company for the business. The name

  of the company paid homage to the Three Palms Logo that for decades prior to the Castro

  revolution was the symbol of the Cerveceria La Tropical Brewery in Cuba.

         38.     All of the intellectual property owned by La Tropical Brewing Company, LLC,

  including, but not limited to, the U.S. Copyright Registration for the Three Palms Logo, was



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  assigned from La Tropical Brewing Company, LLC to Three Palms. A true and correct copy of

  the recorded Copyright Assignment for such copyright registration is attached as Exhibit H hereto.

         39.     Additionally, a company owned by Ramon Blanco-Herrera, RBHH, through an

  assignment dated May 19, 2001, assigned to Three Palms “all right, title, and interest in and to the

  CRISTAL mark as used in connection with beer and malta outside the country of Cuba, together

  with the goodwill of the business symbolized by said mark, including but not limited to, all

  common law rights . . . .” The assignment further stated that “RBHH also sells, assigns, transfers

  and conveys to [Three Palms] all right, title and interest in and to the labels, formulas and methods

  relating to the CRISTAL beer and malta beverages produced by Cerveceria La Tropical/Nueva

  Fabrica de Hielo S.A., in Havana, Cuba, which was controlled by the Blanco Herrera family, since

  1888, said rights inuring since prior to the confiscation/nationalization of same by the Castro

  government.” A true and correct copy of the assignment document is attached as Exhibit I hereto.

         40.     Three Palms made multiple efforts over the years that followed to obtain additional

  registrations for the CRISTAL trademark and label design with the USPTO but was unable to

  obtain such registrations. This was due to the existence of registrations for CRISTAL owned by a

  Peruvian beer company named Union de Cervecerias Peruanas Backus y Johnston S.A.A.,

  covering use with the Peruvian beer produced and sold by them which uses distinguishable

  labeling and is not associated with the Cuban CRISTAL beer. Such registration efforts included

  applications filed by Three Palms for the CRISTAL trademark and label design for malta

  (Application Serial No. 77/520,192 filed on July 11, 2008), as well as for the variation CERVEZA

  PALMA CRISTAL LA PREFERIDA DE CUBA label design with the words CERVEZA PALMA

  CRISTAL within an upwardly inclined rectangular stripe and a single palm within an oval outline

  and the words LA PREFERIDA DE CUBA in the bottom portion of the oval outline for use with



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  beer (Application Serial No. 76/540,556 filed on August 13, 2003 and Application Serial No.

  76/620,184 filed on November 12, 2004). Attached as composite Exhibit J are true and correct

  copies of the U.S. Patent and Trademark Office trademark application/registration database listings

  for such applications.

         41.     Three Palms was, however, successful in obtaining in December 2002 a federal

  trademark registration for the CRISTAL Malta label design including CRISTAL within an

  upwardly inclined rectangular stripe and Three Palms Logo for use with malta. The CRISTAL

  malta was produced and sold in the South Florida market for several years. A true and correct

  copy of U.S. Trademark Registration No. 2,664,974 is attached hereto as Exhibit K. Said

  registration as well as the registration for the CRISTAL word mark covering use with malta

  (Registration No. 2,407,138) were later cancelled via a petition for cancellation filed by Union de

  Cervecerias Peruanas Backus y Johnston S.A.A.

         42.     Despite the unsuccessful efforts to register and/or maintain the registrations for the

  CRISTAL trademark and label, La Tropical nevertheless intended to resume use of same once

  financial and other conditions would allow it to do so.

         La Tropical Re-Introduces Cuban American Made-in-Miami Beer to the U.S. and
         Pays Homage to CRISTAL Roots

         43.     In 2017, Three Palms’ intellectual property assets were acquired by the Heineken

  Group. As part of the acquisition, Three Palms assigned all of its intellectual property rights,

  including the rights previously assigned to it by RBBH with respect to the CRISTAL brand and

  label and the U.S. Copyright Registration for the Three Palms Logo, to Heineken affiliate La

  Tropical Holdings B.V., a plaintiff in this action. A true and correct copy of such assignment is

  attached as Exhibit L hereto.




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          44.    Shortly after the acquisition by the Heineken Group in 2017, construction began on

  the new La Tropical brewery and tap room in Miami, which opened in 2021 and now functions as

  a hub for the thriving Cuban American community in Miami. The new brewery initially produced

  the LA TROPICAL beer and then proceeded with efforts to also produce a beer in the likeness of

  the original CRISTAL beer produced by the Blanco-Herrera family’s business in Cuba, but now

  in Miami.

          45.    As part of such efforts, La Tropical Holdings B.V., a Heineken-affiliated holding

  company which is the current owner of the TROPICAL and CRISTAL brand and label rights

  outside of Cuba as a result of the assignment of such rights by Three Palms, filed a U.S. federal

  trademark registration application for TROPI CRYSTAL, Application Serial No. 97/096,704, on

  October 28, 2021. The TROPI CRYSTAL mark combines a variation of both the LA TROPICAL

  and CRISTAL marks, evoking the beer’s lineage back to the two beer brands originating with the

  Blanco-Herrera family’s business in Cuba prior to the illegal confiscation and nationalization of

  such business by the Castro regime in 1960. The trademark registration application has been

  approved and published without opposition. The registration is expected to be granted after the

  statement of use is filed with the U.S. Patent and Trademark Office. A true and correct copy of

  the U.S. Patent and Trademark Office trademark application database listing for said application

  is attached as Exhibit M hereto.

          46.    In March, 2023, the TROPI CRYSTAL branded beer was launched in South

  Florida. The TROPI CRYSTAL beer is brewed using a recipe based on the original CRISTAL

  beer.

          47.    The label for TROPI CRYSTAL, with its red, green, and white color scheme,

  horizontal red stripe, and the Three Palms Logo evokes the commercial impression with some



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  modern interpretations of the label of the original 1920’s CRISTAL beer from Cuba and features

  the Three Palms Logo. A true and correct image of the original CRISTAL beer label design and

  the TROPI CRYSTAL beer label design as initially launched (which has since been revised) is

  shown in Exhibit N attached hereto.

         48.    A true and correct copy of the current TROPI CRYSTAL beer label design is

  below, and attached hereto as Exhibit O:




         Soltura’s Unlawful Acts

         49.    Soltura produces and sells a brand of beer called CERVEZA PALMA.

         50.    On information and belief, neither Soltura nor its principals has any connections to

  Mr. Portuondo, La Tropical, the Blanco-Herrera family, the Kohly family, the original Cerveceria

  La Tropical brewery in Cuba, or the country or government of Cuba.




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         51.     As explained on its website, Soltura, “inspired by the number #1 selling beer in

  Cuba and the favorite beer of Cuba for more than 75 years,” advertises, offers for sale, and sells

  beer under the claimed trademarks CERVEZA PALMA and CERVEZA PALMA & Design:




  (“Soltura’s Claimed Marks.”)

         52.     Soltura also advertises, offers for sale, and sells beer in the following packaging:




         53.     Soltura has claimed that the above packaging constitutes Soltura’s own protectable

  trade dress. The purported trade dress allegedly encompasses: “(a) green background with a

  contrasting red stripe that runs diagonally upwards from left to right across the center of the

  product; (b) the name of the product in white text offset against the red stripe; (c) a white oval

  displaying a palm tree image; (d) a Spanish phrase featuring “La Preferida” (“the preferred one”)

  as a slogan (“Soltura’s Claimed Trade Dress”).


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         54.    Soltura accessed and copied the Three Palms Logo and has used and/or modified

  the Three Palms Logo in their its business. Soltura was not permitted to copy, publish, or modify

  the Three Palms Logo, or create any derivative works for any purpose.

         55.    Nevertheless, Soltura purposefully and willfully copied, modified and/or created

  derivate works of the Three Palms Logo.

         56.    Soltura has infringed the Three Palms Logo and the copyrights owned by Holdings

  for the Three Palms Logo through the copying and publication Holdings’ (1) original works and

  (2) derivative works which copy elements of the Three Palms Logo, which has harmed and

  continues to harm Holdings.

         57.    Since Soltura started advertising and selling CERVEZA PALMA beer in the U.S.,

  consumers have recognized the similarities between Soltura’s Claimed Trade Dress and the

  famous CRISTAL beer. For example, on September 20, 2021, the Tampa Bay Times reported:

         Cerveza Palma, with its stylized red, black and white palm tree logo and bright red
         banner, is a dead ringer for the Cuban Cristal in its emerald green can. It even
         proclaims, beneath the logo on the 12-ounce can, just like the Cuban Cristal, “La
         Preferida de Cuba.” Cuba’s preferred beer. And it proudly calls itself imported,
         which it is – from Nicaragua.

  (emphasis added.) The article also notes “Martin Wadley, 56, is selling his Palma beer in Miami,

  where locals have asked whether it is a version of the Cuban beer Cristal.” (emphasis added).

  A true and copy of the Tampa Bay Times article is attached hereto as Exhibit P.

         58.    On information and belief, Soltura has sold and continues to sell beer featuring the

  phrase “La Preferida de CUBA” meaning “Cuba’s Favorite Beer:”




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        59.   Soltura’s CERVEZA PALMA beer is advertised as “Cuban beer:”




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         60.    On information and belief, Soltura’s CERVEZA PALMA beer is not now nor has

  it ever been brewed in Cuba or with any ingredients originating in Cuba. Furthermore, on

  information and belief, Soltura’s CERVEZA PALMA beer is not now nor has it ever been offered

  for sale or sold in Cuba, and that neither Soltura nor its CERVEZA PALMA beer has any affiliation

  whatsoever with Cuba.

         61.    The label design used by Soltura for CERVEZA PALMA beer as shown in above

  is virtually identical to the label design currently used by the producer of CRISTAL beer in

  communist Cuba, and the marketing and sale of Soltura’s PALMA beer has resulted in multiple

  instances of actual confusion in the marketplace, with consumers believing that the sale of PALMA


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  beer, due to Soltura’s use of a label design that is virtually identical to the label currently used for

  the CRISTAL beer produced and sold in Cuba today, involves the Cuban government and violates

  the U.S. embargo against Cuba. True and correct copies of published reports of such confusion are

  included as Composite Exhibit Q attached hereto and incorporated herein.

          62.       Soltura’s use of packaging that is identical to the CRISTAL beer packaging has the

  capacity to deceive, and has actually deceived, consumers into believing that Soltura’s CERVEZA

  PALMA beer is sponsored by, approved by, or otherwise associated with the Cuban producer of

  CRISTAL beer when it is not, and that Soltura’s CERVEZA PALMA beer is brewed in Cuba

  when it is not.

          63.       Soltura’s use of packaging that contains the phrase “La Preferida de CUBA,”

  despite that the product is not made in Cuba, imported from Cuba, does not contain any Cuban-

  derived ingredients, and is not sold in Cuba, has the capacity to deceive, and has actually deceived,

  consumers into believing that Soltura’s CERVEZA PALMA beer is a “Cuban” beer brewed in

  Cuba, when it is not.

          64.       Soltura does business as “Bucanero USA,” using the same name – “Bucanero” – as

  the entity in Cuba that produces CRISTAL beer, which falsely suggests a connection or affiliation

  with the producer of CRISTAL beer from Cuba.

          65.       The Cuban producer of CRISTAL sells that beer outside Cuba under the name

  “PALMA CRISTAL.” Thus, Soltura’s use of the name “PALMA” for its beer falsely suggests a

  connection or affiliation with the Cuban producer of CRISTAL beer.

          Soltura’s Fraudulently Procured Trademark Registration

          66.       On April 13, 2018, Soltura filed a trademark registration for the mark CERVEZA

  PALMA and Design:



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         67.     In its application to register the CERVEZA PALMA and Design mark, Soltura

  declared under penalty of perjury that the signatory (here, Martin Wadley, Principal, Soltura)

  believes that the applicant is the owner of the trademark/service mark sought to be registered.

         68.     In its application to register the CERVEZA PALMA and Design Mark, Soltura also

  declared under penalty of perjury that “no persons, except, if applicable, concurrent users, have

  the right to use the mark in commerce, either in the identical form or in such near resemblance as

  to be likely, when used on or in connection with the goods/services of such other persons, to cause

  confusion, or mistake, or to deceive.”

         69.     On information and belief, at the time Soltura applied to register the CERVEZA

  PALMA and Design mark, Soltura had knowledge of Holdings’ copyrighted Three Palms Logo.

         70.     On information and belief, Soltura knew or should have known that the palm tree

  design in the CERVEZA PALMA and DESIGN mark is owned by Holdings, and therefore, that

  Soltura is not the owner of the design sought to be registered, and that because the palm tree design

  is owned by Holdings, Holdings has the sole and exclusive right to use the design in commerce.

         71.     On information and belief, at the time Soltura applied to register the CERVEZA

  PALMA and Design mark, Soltura had knowledge of the label design used for the CRISTAL beer

  from Cuba.


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            72.   On information and belief, Soltura knew or should have known that the label design

  for the Cuban CRISTAL beer was owned by the producer of that beer in Cuba or by the Blanco

  Herrera family whose CRISTAL brand was illegally confiscated by the communist government of

  Cuba, and therefore, that Soltura is not the owner of the design sought to be registered.

            73.   On information and belief, the above misrepresentations by Soltura were material,

  such that the USPTO would not have granted Soltura’s trademark application had it been disclosed

  that Soltura’s design infringes Holdings’ copyright registration for the Three Palms Logo and that

  Soltura is not the owner of the design sought to be registered.

            74.   In addition, on information and belief, Soltura made such false material

  misrepresentations to the USPTO with the intent to deceive the USPTO to obtain a trademark

  registration for the CERVEZA PALMA and Design mark.

            Soltura Sues Cerveceria La Tropical USA LLC and La Tropical Holdings B.V. for
            Trademark and Trade Dress Infringement

            75.   In April 2023, La Tropical received a letter from attorneys representing Soltura

  claiming that the original label design for TROPI CRYSTAL beer infringed upon Soltura’s label

  design for its CERVEZA PALMA beer.

            76.   While La Tropical did not believe that its original design infringes any rights

  Soltura claims to have in its can design, La Tropical updated its packaging to the current can

  design.

            77.   On June 13, 2023, Soltura nevertheless filed a lawsuit in the U.S. District Court for

  the Southern District of California styled Soltura, LLC dba Bucanero USA v. Cerveceria La

  Tropical USA LLC and La Tropical Holdings B.V., Case No. 3:23-cv-01104-JES-KSC (the

  “Soltura Infringement Suit”), in which Soltura asserted claims for trademark infringement, false

  designation of origin, trade dress infringement, and unfair competition.


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         78.     On August 28, 2023, Soltura filed a motion for preliminary injunction seeking to

  enjoin the use of the original label design for Tropi Crystal beer. The Defendants in the Soltura

  Infringement Suit opposed Soltura’s motion. In its reply brief in support of its motion for

  preliminary injunction, Soltura argued that both the original and new label designs for Tropi

  Crystal infringe Soltura’s alleged trademark and trade dress rights in the label design for its

  CERVEZA PALMA beer.

         79.     On September 8, 2023, the Defendants in the Soltura Infringement Suit filed a

  motion to dismiss for improper venue. Soltura opposed the Defendants’ motion.

         80.     On October 11, 2023, the Court heard oral argument on the Defendants’ motion to

  dismiss and Soltura’s motion for preliminary injunction. In response to questions from the Court,

  counsel for Soltura argued that both the original and new label designs for Tropi Crystal beer

  infringe Soltura’s alleged trademark and trade dress rights in its CERVEZA PALMA label design.

         81.     On October 20, 2023, the Court granted the Defendants’ motion to dismiss for

  improper venue and dismissed Soltura’s complaint without prejudice to refiling in the proper

  venue. The Court also denied as moot Soltura’s motion for preliminary injunction.

         82.     All conditions precedent to the filing of this action have occurred or have been

  waived or excused.

         83.     As a result of the wrongful conduct by Soltura alleged herein, Plaintiffs have been

  forced to engage the law firm of Greenberg Traurig, P.A. to enforce their rights. Plaintiffs are

  obligated to pay this law firm reasonable attorneys’ fees and costs in connection with these legal

  services.




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                                   FIRST CLAIM FOR RELIEF

              (Declaratory Relief: Non-Infringement of Trademark and Trade Dress)

            84.   Plaintiffs repeat and reallege the allegations of paragraphs 1 through 83 as though

  fully set forth herein.

            85.   This is a declaratory judgment action under the Lanham Act, 15 U.S.C. §§ 1117

  and 1125, et seq. and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

            86.   In April 2023, La Tropical received a letter from attorneys representing Soltura

  claiming that the original label for TROPI CRYSTAL beer infringed upon Soltura’s label design

  for its CERVEZA PALMA beer.

            87.   While La Tropical did not believe that its original design infringes any rights

  Soltura claims to have in its can design, La Tropical updated its packaging to the current can

  design.

            88.   On June 13, 2023 Soltura nevertheless filed a lawsuit in the U.S. District Court for

  the Southern District of California styled Soltura, LLC dba Bucanero USA v. Cerveceria La

  Tropical USA LLC and La Tropical Holdings B.V., Case No. 3:23-cv-01104-JES-KSC (the

  “Soltura Infringement Suit”), in which Soltura asserted claims for trademark infringement, false

  designation of origin, trade dress infringement, and unfair competition.

            89.   On August 28, 2023, Soltura filed a motion for preliminary injunction seeking to

  enjoin the use of the original label design for Tropi Crystal beer. The Defendants in the Soltura

  Infringement Suit opposed Soltura’s motion.

            90.   On September 8, 2023, Defendants Cerveceria La Tropical USA LLC and La

  Tropical Holdings B.V. filed a motion to dismiss for improper venue. Soltura opposed the

  Defendants’ motion.



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         91.     In their opposition to Soltura’s motion for a preliminary injunction, the Defendants

  confirmed that the original Tropi Crystal label design was no longer in use and had been replaced

  in the marketplace by the new label design. In its reply brief, Soltura responded by alleging that

  the original and new Tropi Crystal label designs are both infringing.

         92.     Also in response to Soltura’s motion for a preliminary injunction, the Defendants

  submitted a consumer survey designed and conducted by Mark Keegan, a recognized consumer

  survey expert. Mr. Keegan conducted a survey among relevant consumers to determine the extent

  to which, if at all, there is a likelihood of confusion between the CERVEZA PALMA label design

  and the new label design for Tropi Crystal. The results of Mr. Keegan’s consumer survey showed

  a zero net level of confusion and thus no likelihood of confusion between the CERVEZA PALMA

  label design and the new label design for Tropi Crystal. A true and correct copy of the Declaration

  submitted by Mr. Keegan in response to Soltura’s motion for preliminary injunction is attached

  hereto as Exhibit R.

         93.     On October 11, 2023, the Court heard oral argument on the Defendants’ motion to

  dismiss and Soltura’s motion for preliminary injunction. In response to questions from the Court,

  counsel for Soltura argued that both the original and new label designs for Tropi Crystal beer

  infringe Soltura’s alleged trademark and trade dress rights in its CERVEZA PALMA label design.

         94.     On October 20, 2023, the Court granted the Defendants’ motion to dismiss for

  improper venue and dismissed Soltura’s complaint without prejudice to refiling in the proper

  venue. The court also denied as moot Soltura’s motion for a preliminary injunction.

         95.     Soltura has never withdrawn its infringement claims with respect to the original

  and new Tropi Crystal label designs.




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          96.     An actual justiciable case or controversy exists by way of the credible threat of

  immediate litigation because of (1) Soltura’s prior lawsuit against Cerveceria La Tropical USA

  LLC and La Tropical Holdings B.V. alleging that the label design for Tropi Crystal beer infringes

  Soltura’s purported trademarks and trade dress rights in the label design for its Palma beer; (2)

  Soltura’s explicit allegations in its reply brief in support of Soltura’s motion for preliminary

  injunction and at oral argument that the new label design for Tropi Crystal beer infringes Soltura’s

  claimed trademark and trade dress rights; (3) the Court’s dismissal of Soltura’s complaint without

  prejudice to refiling in the proper venue; and (4) the Court’s denial of Soltura’s motion for

  preliminary injunction as moot.

          97.     Plaintiffs are entitled to a declaratory judgment that they are not infringing, have

  not infringed, and are not liable for infringing any purported trademark or trade dress rights owned

  by Soltura either directly or indirectly by inducing others to infringe or by contributing to

  infringement by others.

                                    SECOND CLAIM FOR RELIEF

                            (Copyright Infringement under the Copyright Act)

          98.     Plaintiffs repeat and reallege the allegations of paragraphs 1 through 83 as though

  fully set forth herein.

          99.     Holdings is the owner of the entire right, title, and interest in and to the valid and

  subsisting U.S. Copyright Registration for the Three Palms Logo and any derivative works.

          100.    Soltura is not authorized to reproduce, distribute, or make derivate works of or

  based on the Three Palms Logo in any way.

          101.    The palm tree design that appears on the label for CERVEZA PALMA beer is

  substantially similar to the Three Palms Logo.



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          102.     Soltura’s acts complained of herein have violated and continue to violate Holdings’

  exclusive rights (pursuant to 17 U.S.C. § 106) in the Three Palms Logo.

          103.     Soltura’s acts constitute copyright infringement, in violation of the Copyright Act,

  17 U.S.C. § 501.

          104.     Soltura’s infringement was, and remains, willful. Furthermore, Soltura’s willful

  infringement is for purposes of commercial advantage or private financial gain.

          105.     Holdings has suffered, and unless Soltura is enjoined, will continue to suffer

  damages and harm for which there is no adequate remedy at law.

          106.     Soltura’s acts of unauthorized copying and publication of the Three Palms Logo

  and derivate works has usurped Holdings’ opportunity to control the use of its protected

  intellectual property.

          107.     Holdings is therefore entitled to injunctive relief, impoundment, and disposition of

  any infringing articles, statutory or actual damages, attorney’s fees, and the profits realized by

  Soltura as a result of the infringement.

                                    THIRD CLAIM FOR RELIEF

                              (False Advertising under the Lanham Act)

          108.     Plaintiffs repeat and reallege the allegations of paragraphs 1 through 83 as though

  fully set forth herein.

          109.     La Tropical, in association with the Blanco-Herrera family, set out to create a

  Miami Cuban American-inspired beer that pays homage to the original CRISTAL beer.

          110.     La Tropical – through the acquisition of intellectual property owned by the Blanco-

  Herrera family – has expended valuable resources developing and building the TROPI CRYSTAL

  brand of beer.



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             111.   On information and belief, Soltura’s CERVEZA PALMA beer is not now nor has

  it ever been brewed in Cuba or with any ingredients originating in Cuba. Furthermore, on

  information and belief, Soltura’s CERVEZA PALMA beer is not now nor has it ever been offered

  for sale or sold in Cuba.

             112.   The label design used by Soltura for CERVEZA PALMA beer as shown above is

  virtually identical to the label design currently used by the producer of CRISTAL beer in

  communist Cuba. The marketing and sale of Soltura’s CERVEZA PALMA beer has resulted in

  multiple instances of actual confusion among consumers in the United States, who believe that

  CERVEZA PALMA beer, due to Soltura’s use of a label design and palm tree logo that is virtually

  identical and/or substantially similar to the label design currently used for the CRISTAL beer

  produced and sold in Cuba today, is brewed in Cuba or is otherwise connected or affiliated with

  the Cuban government and is being imported into the United States in violation of the U.S.

  embargo against Cuba.

             113.   Soltura’s use of packaging that is identical to the CRISTAL beer packaging has the

  capacity to deceive, and has actually deceived, consumers into believing that Soltura’s CERVEZA

  PALMA beer is sponsored by, approved by, or otherwise associated with the producer of

  CRISTAL beer when it is not, or that CERVEZA PALMA beer is brewed in Cuba when in fact it

  is not..

             114.   Soltura’s use of packaging and point-of-sale displays that contain the phrase “La

  Preferida de CUBA,” despite that the product is not made in Cuba, imported from Cuba, does not

  contain any Cuban-derived ingredients, and is not sold in Cuba, has the capacity to deceive and

  actually has deceived consumers into believing that Soltura’s CERVEZA PALMA beer is a




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  “Cuban” beer, when it is not, or that Soltura’s CERVEZA PALMA beer is brewed in Cuba when

  in fact it is not.

          115.     Soltura’s actions as described above have had a material effect on purchasing

  decisions such that consumers believe that they are buying a beer associated with the original,

  famous CRISTAL beer, or a beer that originates from Cuba, when it does not.

          116.     Soltura’s CERVEZA PALMA beer is sold in interstate commerce.

          117.     Soltura’s actions constitute false advertising in violation of the Lanham Act, 15

  U.S.C. § 1125(a).

          118.     As a direct and proximate cause of Soltura’s acts of false advertising, Soltura has

  caused, and will continue to cause, irreparable injury and damages to Plaintiffs’ business,

  reputation, and goodwill. Plaintiffs have no adequate remedy at law for this injury.

                                  FOURTH CLAIM FOR RELIEF

                  (Violation of Florida’s Deceptive and Unfair Trade Practices Act)

          119.     Plaintiffs repeat and reallege the allegations of paragraphs 1 through 83 as though

  fully set forth herein.

          120.     La Tropical, in association with the Blanco-Herrera family, set out to create a

  Miami Cuban American-inspired beer that pays homage to the original CRISTAL beer.

          121.     La Tropical – through the acquisition of intellectual property owned by the Blanco-

  Herrera family – has expended valuable resources developing and building the TROPI CRYSTAL

  brand of beer.

          122.     On information and belief, Soltura’s CERVEZA PALMA beer is not now nor has

  it ever been brewed in Cuba or with any ingredients originating in Cuba. Furthermore, on




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  information and belief, Soltura’s CERVEZA PALMA beer is not now nor has it ever been offered

  for sale or sold in Cuba.

          123.     The label design used by Soltura for CERVEZA PALMA beer as shown above is

  virtually identical to the label design currently used by the producer of CRISTAL beer in

  communist Cuba. The marketing and sale of Soltura’s CERVEZA PALMA beer has resulted in

  multiple instances of actual confusion among consumers in the State of Florida, who believe that

  CERVEZA PALMA beer, due to Soltura’s use of a label design that is virtually identical to the

  label currently used for the CRISTAL beer produced and sold in Cuba today, is brewed in Cuba

  or otherwise connected or affiliated with the Cuban government and is being imported into the

  United States in violation of the U.S. embargo against Cuba.

          124.     Soltura’s use of packaging that is identical to the CRISTAL beer packaging has the

  capacity to deceive and has actually deceived consumers in the State of Florida into believing that

  Soltura’s CERVEZA PALMA beer is sponsored by, approved by, or otherwise associated with the

  producer of CRISTAL beer when it is not, or that Soltura’s CERVEZA PALMA beer is brewed in

  Cuba when in fact it is not.

          125.     Soltura’s use of packaging that contains the phrase “La Preferida de CUBA,”

  despite that the product is not made in Cuba, imported from Cuba, does not contain any Cuban-

  derived ingredients, and is not sold in Cuba, has the capacity to deceive and has actually deceived

  consumers in the State of Florida into believing that Soltura’s CERVEZA PALMA beer is a

  “Cuban” beer, when it is not, or that Soltura’s CERVEZA PALMA beer is brewed in Cuba when

  in fact it is not.




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          126.    Soltura’s actions as described above have had a material effect on purchasing

  decisions such that consumers in the State of Florida believe that they are buying a beer associated

  with the original, famous CRISTAL beer, or a beer that emanates from Cuba, when it does not.

          127.    Without the consent or approval of Plaintiffs, Soltura has been and is continuing to

  wrongfully advertise, promote, and sell beer under a design that infringes Holdings’ copyrighted

  Three Palms Logo; under a design that deceives consumers into believing that Soltura’s

  CERVEZA PALMA beer is connected to or associated with the original CRISTAL beer when it

  is not; and through use of the phrase “La Preferida de CUBA,” which misleads consumers into

  believing that CERVEZA PALMA is a favorite beer of Cuba, when it is not and has never been

  brewed or sold in Cuba.

          128.    As a direct and proximate cause of Soltura’s acts of deceptive advertising and trade

  practices as detailed above, Soltura has caused, and will continue to cause, Plaintiffs to suffer

  actual damages.

                                   FIFTH CLAIM FOR RELIEF

          (Cancellation of the CERVEZA PALMA & Design Trademark Registration)

          129.    Plaintiffs repeat and reallege the allegations of paragraphs 1 through 83 as though

  fully set forth herein.

          130.    On April 13, 2018, Soltura filed a trademark registration for the mark CERVEZA

  PALMA and Design.

          131.    In its application to register the CERVEZA PALMA and Design mark, Soltura

  declared under penalty of perjury that the signatory (here, Martin Wadley, Principal, Soltura)

  believes that the applicant is the owner of the trademark/service mark sought to be registered.




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         132.    In its application to register the CERVEZA PALMA and Design Mark, Soltura also

  declared under penalty of perjury that “no persons, except, if applicable, concurrent users, have

  the right to use the mark in commerce, either in the identical form or in such near resemblance as

  to be likely, when used on or in connection with the goods/services of such other persons, to cause

  confusion, or mistake, or to deceive.”

         133.    On information and belief, at the time Soltura applied to register the CERVEZA

  PALMA and Design mark, Soltura had knowledge of Holdings’ U.S. Copyright Registration for

  the Three Palms Logo.

         134.    On information and belief, Soltura knew or should have known that the design in

  the CERVEZA PALMA and DESIGN mark is owned by Holdings, and therefore, that Soltura is

  not the owner of the design sought to be registered, and that because the design is owned by

  Holdings, Holdings has the sole and exclusive right to use the design in commerce.

         135.    On information and belief, at the time Soltura applied to register the CERVEZA

  PALMA and Design mark, Soltura had knowledge of the label design used for the CRISTAL beer

  from Cuba.

         136.    On information and belief, Soltura knew or should have known that the label design

  for the Cuban CRISTAL beer was owned by the producer of that beer in Cuba or by the Blanco

  Herrera family whose CRISTAL brand was illegally confiscated by the communist government of

  Cuba, and therefore, that Soltura is not the owner of the design sought to be registered.

         137.    On information and belief, the above misrepresentations by Soltura were material,

  and the USPTO relied on such misrepresentations, such that the USPTO would not have granted

  Soltura’s trademark application had it been disclosed that Soltura’s design infringes Holdings’




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  rights under the U.S. Copyright Registration for the Three Palms Logo and that Soltura is not the

  owner of the design sought to be registered.

         138.    In addition, on information and belief, Soltura made such false material

  misrepresentations to the USPTO with the intent to deceive the USPTO to obtain a trademark

  registration for the CERVEZA PALMA and Design mark.

         139.    Soltura’s acts of fraudulently procuring the CERVEZA PALMA and Design Mark

  has usurped Holdings’ opportunity to seek trademark registration for the Three Palms Logo or a

  derivate work thereof.

         140.    As a direct and proximate cause of Soltura’s fraudulent acts, Soltura has caused,

  and will continue to cause, irreparable injury and damages to Plaintiffs, for which Plaintiffs have

  no adequate remedy at law.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully request that the Court enter judgment against

  Soltura, and award:

         (a)     An order declaring that the original and new label designs for Tropi Crystal beer do

  not infringe any valid, distinctive, and enforceable trademark rights owned by Soltura relating to

  the sale of product packaging used in conjunction with Soltura’s CERVEZA PALMA product,

  either directly or by inducing others to infringe or by contributing to infringement of others;

         (b)      An order declaring that the original and new label designs for Tropi Crystal beer

  do not infringe any valid, distinctive, and enforceable trade dress rights owned by Soltura relating

  to the sale of product packaging used in conjunction with Soltura’s CERVEZA PALMA product,

  either directly or by inducing others to infringe or by contributing to infringement of others;




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           (c)    Under 17 U.S.C. § 502, Soltura and their agents, representatives, servants,

  employees, attorneys, officers, directors, shareholders, principals, licensees, affiliates, joint

  venturers, parents, subsidiaries, related corporations, and others in privity and acting in concert

  with Soltura be permanently enjoined from copying, reproducing, distributing, or making

  derivative works of the Three Palms Logo;

           (d)    Under 17 U.S.C. § 503, Soltura be directed to deliver up for destruction all copies,

  reproductions, or derivative works of the Three Palms Logo;

           (e)    Under 17 U.S.C. § 504, Soltura account and pay to Plaintiffs damages in an amount

  sufficient to compensate it fairly for the injury it sustained, plus all profits that are attributable to

  Soltura’s infringement of the Three Palms Logo, or, in the alternative statutory damages in the

  amount of up to $150,000 per work willfully infringed;

           (f)    Under 17 U.S.C. § 505, Soltura be ordered to pay Holdings its attorney’s fees and

  costs;

           (g)    Under 15 U.S.C. § 1116, Soltura and their agents, representatives, servants,

  employees, attorneys, officers, directors, shareholders, principals, licensees, affiliates, joint

  venturers, parents, subsidiaries, related corporations, and others in privity and acting in concert

  with Soltura be permanently enjoying from:

                  (i)     Using the Soltura Claimed Trade Dress;

                  (ii)    Using the CERVEZA PALMA and Design mark; and

                  (iii)   Using the phrase “La Preferida de CUBA.”

           (h)    Under 15 U.S.C. § 1118, Soltura be directed to deliver up for destruction all goods,

  advertisements, labels, signs, print, packages, wrappers, receptacles, and all other materials in its




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  possession or under its control bearing the Soltura Claimed Trade Dress; the CERVEZA PALMA

  and Design mark; and/or the phrase “La Preferida de CUBA.”

         (i)       Under 15 U.S.C. § 1117, Soltura’s account and pay to Plaintiffs damages in an

  amount sufficient to compensate it fairly for the injury they sustained, plus all profits that are

  attributable to Soltura’s sale of goods and services under or in connection with the CERVEZA

  PALMA and Design mark, the Soltura Claimed Trade Dress, and/or the slogan “La Preferida de

  CUBA,” and further that the amount of the monetary award be trebled in view of the willful and

  deliberate nature of Soltura’s unlawful conduct;

         (j)       Under 15 U.S.C. § 1117, Soltura be ordered to pay Plaintiffs their attorneys’ fees

  and costs;

         (k)       Under 15 U.S.C. § 1119, Soltura’s Trademark Registration No. 5/824,189 be

  cancelled; and

         (l)       Any further relief as this Court may deem equitable and proper.

                                     JURY TRIAL DEMANDED

         Plaintiffs demand a trial by jury of all issues so triable pursuant to Rule 38 of the Federal

  Rules of Civil Procedure.




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  Respectfully submitted, this 13th day of November, 2023.


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